          Case 1:15-cr-00182-LY                                    Document 182 Filed 05/20/19 Page 1 of 14
   RECEIVED
     MAY 2 0             2019

CLERK.       U.S.   DISTRICT   COURT
WESTERN
  AO 243
                    STRICT OF    T-ION UNDER 28 USC
              15/85}            DEPUTY
                                                  SENTENCE B'
                                                                  kPERsoNllRAUM99'??.W'
              Uited States District Co1 I.                                                 WS1KN VLSI' KLU'I' U1'I' JIXAS
   Name of Movant                                                                 Prisoner No.                     Case No.
                                                                                                 53531-280                      MAY 2
                           Trinidad Jose Mederos
   Place ofCc,nfinement                .                                              .                .       .       C      Rt.jJ     ..ns1k1   OURT
                                  Edgefield Federal Correctional institution,                             TE4VPfTRICToF TEXAS
                                                                                                       DY_______________
                                                                                                                 DEPUTY LRK
                                                                                     TRINIDAD JOSE MEDEROS
                        UNITED STATES OF AMERICA                             V.
                                                                                                   (name under which convicted)

                                                                        MOTION
                                                                                                             United States
         1.   Name and location of court which entered the judgment of conviction under attack
               District Court, Western District of Texas (Austin)
                                                 June 24, 2016 (Reinstated October 6, 2017)
         2. Date     ofjudgment of conviction ___________________________________________________________________
                                         Total 204 months incarceration.
         3    Length of sentence

     4.Natureofoffenseinvolved(allcounts)
                                          Possession w/Intent to Distribute 500
       grams or more Methamphetamine 21 USC 841(a)(1), 841(b)(1)(A);

              Possession of Firearm During Trafficking Offense 18 USC 924(c).



         5. What was     your plea? (Check one)
                (a) Not guilty            0
                (b)Guilty
                (c) Nob contendere        0
               If you entered a guilty plea to       count ca indictmit, and a not guilty plea to another count or indictment, give details:
                       N/A




         6. If you pleaded not guilty, what kind of ti-ial did you have? (Check one)
                (a)Ji---                 E--N/A----.
                (b) Judge only           0'
         7. Did you tstifS'      at the trial?
                YesDNoD                N/A
         8. Did you appeal from the judgment           ofconviction?
                YesNoD                        =
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      9. If you did appeal, answer the following:
                                     United States Court of Appeals, Fifth Circuit
            (a)Nameofcourt

             b)Result
                                 Appeal dismissed

            (c) Date of result
                                     July   9,   2018       Case #17-50           (5'
      10. Other than a direct appeal from  the judgment of conviction and sentence, have you previously filed any petitions,
          applications or motions with respect to this judgment in any federal court'?
          YesNoD
      ii. Ifyour answer to 10 was "yes", give the following information:
                                      U.S. District Court, Western District Texas
            (a)(1)Nameofcourt
                                             28 U.S.C.          2255 Motion               Case #1:17-CV-002
                (2) Nature of proceeding



                                            Ineffective assistance of counsel
                (3) Grounds raised




                (4) Did you receive an evidentiary hearing on your petition, application or motion?
                       Yes   ONo 0
                               Motion granted.               Judgment reinstated for appeal.
                (5)Result
                                       October       6,    2017
                (6) Date of result

             (b) As to any second petition, application'or motion give the same information:
                                           N/A
                (1) Name of court     ____________________________________________

                (2) Nature of proceeding
                                                               N/A


                (3) Grounds raised
                                                               N/A




                                                                   (3)
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                (4) Did you receive an evidentiaiy hearing on your petition, application or motion?
                    Yes   0No 0
                                                    N/A
                 (5) Result

                 (6) Date of result

           (c) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken on any petition,
               application or motion?
                  (3) First petition, etc.    Yes   0 No 0
                  (2) Second petition, etc.         0 No 0
           (d) If you did not appeal from the adverse action on any petition, application or motion, explain bri'efly why you did not:



                                                          N/A




                                                                N/A




      12. State concisely every ground on which you claim that you are being held in violation of the constitution, laws or
          treaties of the United States. Summarize briefly the facts supporting each ground. If necessary, you may attach
           pages stating additional grounds and facts supporting same.
           CAUTION If you fail to set forth all grounds in this motion, you may be barred from presenting additional
           grounds at a later date,

            For your information, the following is a list of the most frequently raised grounds for relief in these proceedings. Each
         statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
         other than those listed. However, you should raise in this motion all available grounds (relating to this conviction) on which
         you based your allegations that you are being held in custody unlawfully.
            Do not check any ofthese listed grounds. If you select one or more of these grounds for relief, you must allege facts. The
         motion will be returned to you if you merely check (a) through (j) or any one of the grounds.
           (a) Conviction obtained by pleaof guilty which was unlawfully induced or not made voluntarily or with understanding of
               the nature of the charge and the consequences of the plea.
           (b) Conviction obtained by use of coerced confession.


                                                                      (4)
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           (c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
           Cd) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
           (e) Conviction obtained by a violation of the privilege against self-incrimination.
           (f)Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable
                to the defendant.
           (g) Conviction obtained by a violation o.the protection against double jeopardy.
           (h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impanelled.
           (I) Denial of effective assistance of counsel.
           (j) Denial of right of appeal.

                     A. Ground one:
                                        MOVANT WAS DENIED EFFECTIVE ASSISTANCE OF COUNSEL
         AS GUARANTEED BY THE SIXTH AMENDMENT, U.S.                                          CONSTITUTION.

                        Supporting FACTS (state briefly without citing cases or law)
                               See attached pages                  51      thru 5-8




                                        MOVANT'S GUILTY PLEA WAS COERCED AND NOT MADE
                     B. Ground two:
          VOLUNTARILY IN VIOLATION OF THE FIFTH AMEND., US CONSTITUTION.

                        Supporting FACTS (state briefly without citing cases or law):
                             See attached pages                    5-i thru 5-8




                                                             N/A
                     C. Ground three:



                         Supporting FACTS (state briefly without citing cases or law):




                                                                    (5)
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GROUND ONE Supporting Facts:

1.   Movant alleges that attorney Richard T. Jones failed to pro-

vide Movant with effective assistance of counsel by failing to

adequately and properly advise Movant with respect to the nature

of charges,    the discovery material, and the various defenses to

alleged charges.

     More specifically,   attorney Jones did not adequately consult

with Movant about the charges and evidence against Movant.               The
Movant tried to explain to attorney Jones that the         2   kilograms

of methamphetamine did not belong to him;       that police reports

confirm that someone else (Ebirth castaneda-Benitez) got into

Movant's vehicle on December 29, 2014, and had the contraband

with him.     The police ultimately seized the contraband from

the passanger's side of vehicle between Benitez'         legs.     The

Indictment did not charge Movant with conspiracy nor did it

charge theory of aiding & abetting.

2.   Movant alleges that attorney Jones was ineffective for not

conducting adequate investiagtions and research towards filing
a motion to supress the contraband siezed on December 29, 2014.

Movant repeatedly instructed attorney Jones to file motion to

challenge/supress the evidence seized by police.          According to
police reports the Movant was surveiled in days leading up to

seizure/arrest on December 29, 2014.       Attorney Jones took no

action or efforts to challenge the vailidity of probable cause

or legality of the search and seizure on December 29,            2014.
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3.   Movant alleges that attorney Jones       was ineffective for

failing to prepare for Movant's criminal case and then coercing

Movant to plead guilty when the time for criminal proceedings

was at the Eleventh Hour.      The Movant was forced to go to trial

without a defense strategy and with a lawyer who had completly

failed to prepare for Movant's trial or plead guilty.

4.   Movant alleges that attorney Jones failed to properly handle

the Movant's debriefing process which ultimately prejudiced the

Movant's criminal proceedings becuase authorities refused to

consider any further debreifing by Movant telling Movant that

he (Movant) had "burned the bridges" and could not be considered

for any further debriefing.

5.   Movant alleges that attorney Jones was ineffective for

failing to investigate and research Movant's criminal history!

background for purposes of potential sentence exposure and

possible collateral attack in State Courts.         At no time did

attorney Jones advise Movant that the U.S. Attorney Could file

an "851 Notice" and thereby increase the statutory minimum on

controlled substance charges to twenty (20) years imprisonment.

The U.S. Attorney's Office was able to coerce the Movant with

threats to file 851 just days prior to scheduled trial as an

unlawful tactic to pressure a guilty plea from Movant.            Had

Movant been made aware of the potential for 851 notification

and sentence enhancement the Movant's criminal proceedings

would have ended differently.
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6.   Movant alleges that attorney Jones completly failed to

apprise the Movant with regards to the United States Sentencing

Guidelines   (USSG) prior to Movant guilty plea.         Attorney Jones

failed to discuss any potential sentence variances or motions

for downward departure, much less conduct any investigations

and/or legal research towards such strategy.

7.   Movant alleges that attorney Jones was ineffective for not

objecting to the change-of-plea colloquy conducted by United

States Magistrate Judge Mark Lee on December 21, 2015.            The

transcript of hearing clearly shows that Movant did not want to

plead guilty to the charges; that Magistrate Judge Lee essent-

ially coerced Movant to plead guilty and allowed the Assistant

United States Attorney (Matt Harding) to openly threaten the

Movant with additional charges and increased prison time if the

Movant exercised his Constitutional Right to a Jury Trial and

did not plead guilty that day. Tr. Vol. 12/21/15; pp. 1-35.

       The Movant did not want to plead guilty to the controlled

substances that belonged to castaneda and did not have the gun

with him to "further" any drug trafficking offense, however

Magistrate Lee pressured .Movant to plead guilty and agree to

state on the record that the     2   kilograms belonged to him (Movant)

and the firearm was there to protect the drugs. id.pp.30-33.

Attorney Jones should have objected to the Magistrate Judge's

undue influance on the Movant.        It   is obvious   to any objective

reader that Movant did not want to plead guilty and done so only
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because:   (1) attorney Jones had abandoned him;      (2)   the Assistant

United States Attorney was openly threatoning him; and (3) the

Magistrate Judge was coercing and unlawfully pursuading him.

8.   Movant alleges that attorney Jones was ineffective for not

objecting to the deficient guilty plea colloquy conducted on
December 21, 2015, before Magistrate Judge Mark Lee:             change-

of-plea hearings must conform with Rule 11, Federal Rules of

Criminal Procedure and Due Process of Law Clause of the Fifth
Amendment, United States Constitution.

      Prior to the change-of-plea hearing before Magistrate Judge

Lee the Movant was at a hearing before Judge Lee Yeakel, United

States District Court Judge. (DE#175, Tr. Vol.12/21/15).             At

this earlier hearing attorney Jones informed the Court that he

(attorney Jones) had been "fired" by the Movant who did not want

attorney Jones representing him any longer. id. p. 4. Attorney

Jones was retained by Movant in this case and had authority               to

dismiss counsel from further representation.         At the time of the

hearing before Judge Yeakel the attorney-client relationship

between Jones and the Movant was irreconcilable and the court

should have conducted inquiry to remove attorney Jones from any

further representation of the Movant.

      Instead of removing attorney Jones, the Court informed the
Movant of what a     "very good attorney"     Mr. Jones was and that

there was a "strong likelihood"      that the Court would not grant

any pro se motion to remove attorney Jones.        Id. p.   6.   After
forcing Movant to accept attorney Jones as counsel the Court
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then allowed the U.S. Attorneys'       Office to threaten Movant with

additional charges and enhanced penalties while facing a jury
trial in less then two (2) weeks--a jury trial with a lawyer who

was not prepared and who had antimosity against his client (the

movant) for firing him and not paying off retainer fees.

      Shortly after the hearing before Judge Yeakel the Movant was

brought before Magistrate Judge Mark Lee to plead guilty.             Prior

to   the change-of-plea hearing attorney Jones instructed Movant

to say "yes and no" before the Magistrate and agree with whatever

is asked or said.      Attorney Jones essentially advised the Movant

to be untruthful with the court about matters that Movant had

reservations about or the Magistrate Judge would not accept the

plea and Movant will then face mandatory minumum sentence of 25-

years up to Life imprisonment.        Notwithstanding attorney Jones'
directives, the Movant continued to maintain his innocence in

response to Magistrate Lee's questions and advised the Court that
he (Movant) was only pleading guilty because of what attorney

Jones was telling him. id. pp. 20-21; 22-23;         28-29.

      Attorney Jones should have--but did not--object and stop the
change-of-plea hearing due to Movant's obvious reluctance to

plead guilty.     Magistrate Judge Lee should not have accepted the

Movant's guilty plea and attorney Jones was deficient for not

objecting or otherwise preserving the issue for appellate review.

9.   Attorney Jones was ineffective because of a conflict of inter-

est between Movant and counsel which completly destroyed the

attorney/client relationship that was completely broke-down by
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the time of Movant's change-of-plea hearing on December 21,                2015,

after Movant had formally "fired" attorney Jones from case.

10.    Movant alleges that attorney Michael J. Morris was ineffect-

ive for failing to preform an pre-sentence investigation or make

any efforts to assist the Movant with his criminal proceedings.

11.    Attorney Morris was deficient for failing to file a motion

to withdrawal Movant's guilty plea entered on December 21,            2015,

before Magistrate Judge Mark Lee.         Attorney Morris was advised

by Movant as to the events surrounding his change-of-plea hearing

and why he (Movant.) felt that his guilty plea was not voluntarily

entered.    Nevertheless,    attorney Morris took absolutely no steps

to    investigate the issue and did not bother to procure the change-

of-plea hearing transcript in order to ascertain the facts related

to issue.

12.    Movant alleges that attorney Arinando Martinez--who replaced

attorney Morris- -was ineffective for not making a           record and
preserving the ineffective assistance of counsel by previous

attorneys Jones and Morris.

13.     Attorney Martinez was ineffective for failing to research,

investigate and file a motion to withdrawal Movant's guilty plea

entered on December 21, 2015, before Magistrate Judge Mark Lee.

Attorney Martinez was informed by the Movant about the hearings
held on December 21, 2015, and that he (Movant) was coerced into

pleadings guilty and the basis of such belief.           Attorney Martinez

assured Movant that he (Counsel) would "look in the matter" and
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take "appropriate action", however,         the record shows that attorney

Martinez took no action to investigate or research a motion to

withdrawal Movant's guilty plea pursuant to United States v. Carr,
740 F.2d 339 (5th Cir. 1984).         Attorney Martinez did not procure
the hearing transcripts for December 21,          2015, which would be a
necessary start to any strategy for withdraw of Movént's guilty
plea.

14.     Attorney Martinez was ineffective for failing to properly
handle the debriefing process as previously scheduled by attorney

Morris.     Attorney Martinez deficient performance related to the

Movant's debriefing process substantially prejudiced Movant's

criminal proceedings insomuch as the Movant was deprived of the

benefit of his previous discussions with AUSA Matt Harding, who

felt--due to counsel's deficient preformance--that Movant "had
burned his bridges".

15.     Attorney Martinez was ineffective for failing to do anything

to challenge Movant's guilty plea or file any motions to mitigate

the Movant's sentence exposure and/or move for downward departure

or sentencing variance.       Attorney told Movant that he (counsel)
would ask the Court for a variance and file motions for downward-

departue and variance at appropriate time.           Movant knows of no
such motions being filed by attorney Martinez.

16.   Attorney Martinez was ineffective for failing to file any

objections to the United States Probation Office's Presentence

Report (PSR)(DE#94/106).       Movant did not get an opportunity to
review the PSR with the advice of counsel and would have wanted
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 counsel to make several objections to the PSR.            For example,

 the PSR is not accurate with respect to Movant's prior criminal

history and specific convictions/sentences that were used in the

 PSR to increase the Movant's Criminal History Catagory (CHC).

 Moreover, the      PSR is erroneous on multiple factual grounds and

now the Movant is left with the prison officials' using the PSR's

 information for custody and classification.

 17.    Attorney Martinez was ineffective for not properly and

 adequately representing the Movant at Movant's sentencing pro-

ceedings which resulted in the Movant getting a longer Guideline

 sentence that otherwise available had counsel made the approp-
riate motions/arguments.

18.     Had the Movant been aforded competent and effective assistance

of counsel he would not have pled guilty but rather exercised his

Constitutional Rights--including but not limited to            a   Jury Trial.



GROUND TWO Supporting Facts:

1.     Movant would reallege and state herein all the facts setforth

in GROUND ONE above in support of his allegtion that Movant's

guilty plea was not informed, intelligent, knowing or voluntarily

made as required by the Due Process of Law Clause of the Fifth

Amendment, United States Constitution.         See Boykin v. Alabama
395 US 238,    342 (1969).

2.     Based on attorney Richard T. Jones' deficient performance

related to Movant's guilty plea such plea was not voluntarily

made.     Had it not been for counsel's deficient representation
Movant would not have pled guilty and went to trial.               _Hill v.

Lockhart, 474 US      52,   65   (1985).
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                       D. Ground four: __________________________________________________________________



                           Supporting FACTS (state briefly without citing cases or law):




   13. If any  of the grounds listed in I 2A, B, C, and D were not previously presented, state briefly what grounds were not so
         presented, and give your reasons for not presenting them:
             N/A




    14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
        Yes     0
               No Xi

    15. Give the name and address,       if known, of each attorney who reesented you in the following stages of the judgment attacked
          herein:
                                              Richard Jones
            (a) At preliminary hearing




            (b) At arraignment and plea
                                              Richard Jones/Michael J. Morris



             (c)At trial




            (d)Atsentencing               Armando Martinez




                                                                      (6)
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          (e)Onappeal            Federal Public Defender, Western District Texas



           (f) In any post-conviction proceeding




           (g) On appeal from any adverse ruling in a post-conviction proceeding



     16. Were you sentenced on more than one count    of an indictment, or on more than one indictment, in the same court and at
         approximately the same time?
         Yes     0 No
     17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment underattack?
         Yes     0
               No)4

         (a) If so, give name and location of court which imposed sentence to be served in the future:

                          N/A


                                                                       N/A
         (b) Give date and length of the above sentence:



         (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be
             served in the future?
               YesDNoD                         N/A


       Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.


                                                                                   Pro Se
                                                                                    Signature of Attorney (if any)




      I declare under penalty of perjury that the foregoing is true and correct. Executed on


                        (date)




                                                                                          ignature of Movant
                                                                        Trinidad Jose Mederos




                                                                 (7)
